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1
                      UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
2

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     TRUZELLA LITTLETON,       ) Case No. 4:13-cv-03591-NJV
4
                               )
5    Plaintiff,                ) ORDER
6
                               )
            vs.                )
7                              )
8    ARROW FINANCIAL SERVICES, )
     L.L.C. AND LEGAL RECOVERY )
9
     LAW OFFICES, INC.,        )
10                             )
     Defendant.                )
11

12
           IT IS HEREBY ORDERED that pursuant to the Joint motion of the parties
13
     pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii), the entire case is
14
     dismissed with prejudice. Each party shall bear their own costs and fees.
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16
                                                             September
17                                        Dated this 4th
                                                     ____day of August, 2014.
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20
                                            The Honorable Nandor J. Vadas
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                                        Order to Dismiss - 1
